     Case: 1:18-cv-08545 Document #: 56 Filed: 10/23/19 Page 1 of 2 PageID #:382




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

Flip Clip Technology, LLC                       )
                                                )
v.                                              )      Case No. 18-cv-8545
                                                )
THE PARTNERSHIPS and                            )      Judge: Hon. Andrea R. Wood
UNINCORPORATED ASSOCIATIONS                     )
IDENTIFIED ON SCHEDULE “A,”                     )      Magistrate: Hon. Susan E. Cox
                                                )
                                                )
                                                )


                                   SATISFACTION OF JUDGEMENT

           Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

     Doe       Seller Name                                Seller ID
      2        BeadsMonster                               A24U8QJGO4LR0C
     82        faith808                                   57b17ed25de2f218cdf05076
     92        for8ward                                   57c7ea137cdb5a1c9f850da0
     98        globalsupermarket                          53b7a11838d30461f1f08b71
     99        goldenlion                                 57343861ef77745f5b9ea102
     106       happysky8                                  5473163e5f313f0449f83520
     240       thriving100                                57c7cdefd6d8a749ce3af8ba
     245       torridity                                  5793228fba8cd234a7507a56
     320       Ali-The World of Dresses Store             3413026
     321       JETTINGJewelry Store                       2490087
     322       Garment&Accessories Store                  3866067
     323       Woman Wardrobe Store                       712094
     324       MissJa Store                               4047085
     325       Funny bag Store                            3249044
     326       QIUWU Clothes Store                        3254053
     328       Corner met Store                           3623068
     328       Corner met Store                           3623068
     331       HWetR Jewellery Store                      3882022
     331       HWetR Jewellery Store                      3882022
    Case: 1:18-cv-08545 Document #: 56 Filed: 10/23/19 Page 2 of 2 PageID #:382




   332     Sunny569448 Store                            3894006
   332     Sunny569448 Store                            3894006
   333     Ali-ladieswear Store                         3275029
   334     Playgirl Store                               2781153
   340     CLJ Beside Store                             2906136
   341     Ali-KvJJL Store                              4279007



dismisses them from the suit without prejudice.

Dated this 23rd Day of October 2019.                  Respectfully submitted,


                                            By:         s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record
                                                      Counsel for Plaintiff

                                                      David Gulbransen (#6296646)
                                                      Law Office of David Gulbransen
                                                      805 Lake Street, Suite 172
                                                      Oak Park, IL 60302
                                                      (312) 361-0825 p.
                                                      (312) 873-4377 f.
                                                      david@gulbransenlaw.com




                                                  2
